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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 AETHER THERAPEUTICS, INC.,                         )
                                                    )
                       Plaintiff,                   )
                                                    )
                  v.                                )
                                                    ) C.A. No. 20-381-MN
 ASTRAZENECA AB, et al.,                            )
                                                    )
                       Defendants.                  )

        [PROPOSED] ORDER GRANTING MOTION FOR EXTENSION OF TIME

        This _____ day of ____________________, 2020, Defendants AstraZeneca AB,

AstraZeneca Pharmaceuticals LP, and Nektar Therapeutics having moved for an extension of time

to respond to the First Amended Complaint for Patent Infringement, and the Court having

concluded that there is good cause for such an extension,

        IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED, and the time for

Defendants AstraZeneca AB, AstraZeneca Pharmaceuticals LP, and Nektar Therapeutics to move,

answer, or otherwise respond to the First Amended Complaint for Patent Infringement is extended

until July 16, 2020.




                                                      United States District Judge




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